                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

 (1) BLACK EMERGENCY RESPONSE TEAM,
 (2) UNIVERSITY OF OKLAHOMA CHAPTER OF THE
 AMERICAN ASSOCIATION OF UNIVERSITY
 PROFESSORS,
 (3) OKLAHOMA STATE CONFERENCE OF THE
 NATIONAL ASSOCIATION FOR THE ADVANCEMENT
 OF COLORED PEOPLE,
 (4) AMERICAN INDIAN MOVEMENT INDIAN
 TERRITORY,
 (5) PRECIOUS LLOYD, AS NEXT OF FRIEND OF S. L.,
 (6) ANTHONY CRAWFORD, AND
 (7) REGAN KILLACKEY,

        PLAINTIFFS

 VS.                                                        CASE NO. CIV-21-1022-G

 (1) JOHN O’CONNOR, IN HIS OFFICIAL CAPACITY AS
 OKLAHOMA ATTORNEY GENERAL, ET AL.,

        DEFENDANTS.

                            AFFIDAVIT OF JACQUELINE RASNIC

       I, Jacqueline Rasnic, being first duly sworn upon oath, deposes and state as follows:

       1.     I have personal knowledge of the following facts and could and would testify

competently thereto if called as a witness in this proceeding.

       2.     I am the English Language Arts Content Specialist for Edmond Public Schools

(“EPS”) and have been in this position since July 2020. Under the supervision of Emily Steele,

Executive Director for Educational Services for EPS, I oversee secondary (grades 6–12)

English curriculum, which includes the selection of required novels (texts) and English

Language Arts (“ELA”) textbooks.




                                                  Def.'s Ex. No. 2, Aff. of Jacqueline Rasnic
       3.      On June 7, 2021, I met with EPS 11th- and 12th-grade English teachers to

discuss, among other things, the ramifications of H.B. 1775. This was an informal meeting

to brainstorm about issues related to curriculum, including concerns raised by staff about

H.B. 1775.

       4.      On June 28, 2021, I disseminated a PowerPoint slideshow of notes from the

June 7, 2021, meeting. The notes did not represent a directive from EPS about how teachers

should respond to H.B. 1775; they only represented a summary of the discussions at the

meeting. The PowerPoint did contain a slide that stated: “Diversity: Avoid the terms ‘diversity’

and ‘white privilege’ in class and on [online learning platforms]” but, again, this reflected an

issue that was raised in the meeting by staff members for possible future consideration for the

2021–22 school year and was not a directive to teachers. The teachers who attended the June

7, 2021, meeting were informed that the purpose of the meeting was an informal discussion,

not that EPS was providing directives regarding H.B. 1775.

       5.      After disseminating the notes from the June 7, 2021, meeting, I received further

guidance and analysis of H.B. 1775 from EPS Executive Director of Educational Services

Emily Steele that alleviated concerns voiced in the June 7, 2021, meeting.

       6.      Attached hereto is the ELA text list for all EPS students in grades 6–12, for the

2021–22 school year. The phrase “on-level” refers to the basic English class for that grade

level, as opposed to an advanced course. Starting in the eighth grade, the classes are divided

into small groups, referred to as a Literature Circle (“Lit. Circle”). In addition to the required

readings for each class, each Lit. Circle must select from the texts on the list for that grade.




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       7.     On August 9, 2021, I provided an updated slideshow to EPS English teachers.

This version replaced the slide that stated “Diversity: Avoid the terms ‘diversity’ and ‘white

privilege’ in class and on [online learning platforms]” with one that read:


       H.B. 1775 (Look at yellow guidelines sheet)
       * We will still be discussing diversity.
       * Be able to tie your lessons to standards.
       * Be thoughtful about how you name your lessons. Ex: A Diversity Journal
       Entry= Journal Entry 2.
       Be aware that parents in certain [Facebook] groups will take pictures of
       anything they believe to be [Critical Race Theory] and post it.

       8.     EPS had been contacted by parents who expressed concerns that EPS staff was

teaching about Critical Race Theory (or intended to), even though that was not the case. The

reasoning behind recommending to teachers that they not title lessons with words like

“diversity” was to minimize the possibility that parents would view the title and jump to

conclusions about whether EPS was teaching Critical Race Theory. “Diversity” is not a stand-

alone standard of the Oklahoma Academic Standards for English Language Arts.

Nevertheless, teachers would still be including diversity and related topics in their classroom

work as appropriate given the specific content of a particular lesson.

       9.     Reagan Killackey teaches Advanced Placement Literature, Advanced Placement

Language, Advanced Placement and two sections of English III. These courses are taken by

11th and 12 grade (high school) students.

       10.    Prior to the 2021–22 school year, EPS did not require on-level English students

to read four texts identified in paragraph 13 of the Affidavit of Regan Killackey: TO KILL A

MOCKINGBIRD by Harper Lee; A RAISIN IN THE SUN by Lorraine Hansberry; THEIR EYES




                                                  Def.'s Ex. No. 2, Aff. of Jacqueline Rasnic
ARE WATCHING GOD by Zora Neale Hurston; and NARRATIVE OF THE LIFE OF FREDERICK

DOUGLASS, AN AMERICAN SLAVE by Frederick Douglass.

       11.     For example, in 2019–20 and 2020–21, Grade 11 students were required to read

THE CRUCIBLE by Arthur Miller, THE GREAT GATSBY by F. Scott Fitzgerald, and either I

KNOW WHY THE CAGED BIRD SINGS by Maya Angelou or THE HOUSE ON MANGO STREET

by Sandra Cisneros (chosen by the English teacher with input from students). The three

campus choices (choices left up to a school site) for a fourth required (or “anchor”) text were

JURASSIC PARK by Michael Crichton, A RAISIN IN THE SUN by Lorraine Hansberry, and THE

SOULS OF BLACK FOLKS by W.E.B. Du Bois. Thus, Grade 11 students at each high school

campus had only five possible books to read for their English class. TO KILL A MOCKINGBIRD

by Harper Lee was one of two choices for Grade 9 Pre-Advanced Placement English only.

       12.     In 2021, EPS worked with its English teachers to develop reading lists that

supplied students more flexibility and diversity in their choice of texts. This was in response

to input from students and staff. Over the course of the summer of 2021, secondary English

teachers met to discuss current novels that were being read in class, and to read and discuss

new titles for possible addition to ELA extended reading lists. The priority in making changes

to the reading lists was to be more aligned across all these school sites. I collaborated with the

teachers at the various sites to come up a list of the ELA texts, and ultimately that list was

approved by Ms. Steele.

       13.     Regan Killackey did not attend the meetings referenced in paragraph 11.

       14.     Beginning with the 2021–22 school year, Grade 11 students must still read THE

CRUCIBLE and THE GREAT GATSBY but may choose one text from a list titled The Individual




                                                   Def.'s Ex. No. 2, Aff. of Jacqueline Rasnic
and Society Nonfiction Literature Circle while their teachers choose multiple pieces from a list

titled American Voices Packet.

       15.    The Individual and Society Nonfiction Literature Circle consists of six titles

from which students may choose to study:

       a.     BORN A CRIME (YOUNG ADULT VERSION) by Trevor Noah (South African
              author);
       b.     BRAIN ON FIRE by Sussanah Cahalan (woman author)
       c.     EVERYTHING SAD IS UNTRUE by Daniel Nayeri (Iranian-American refugee
              author);
       d.     INTO THE WILD by Jon Krakauer;
       e.     THE NAZI HUNTERS by Neal Bascomb (chronicling how Holocaust survivors
              helped capture Nazi war criminal Adolf Eichmann); and
       f.     UNBROKEN by Laura Hillenbrand (woman author).
       16.    The American Voices Packet consists of 21 pieces of poetry, 27 pieces of

nonfiction, and 18 pieces of fiction, including many pieces written by BIPOC (Black,

Indigenous, and People of Color) authors:

                                            BLACK
• Malcolm X                                        • Amanda Gorman
• James Baldwin                                    • Claude McKay
• Brent Staples                                    • Langston Hughes
• Toni Morrison                                    • Gwendolyn Brooks
• Zora Neale Hurston                               • Paul Laurence Dunbar
• Chimamanda Ngozi Adiche                          • Maya Angelou (I KNOW WHY THE
• Lorraine Hansberry (A RAISIN IN THE              CAGED BIRD SINGS)
SUN)                                               • Sojourner Truth
• Dick Gregory                                     • Dr. Martin Luther King, Jr.
• Michelle Obama




                                                  Def.'s Ex. No. 2, Aff. of Jacqueline Rasnic
                                           LATINX
• Elizabeth Acevedo                                • Erika L. Sanchez
• Luis J. Rodriguez                                • Justin Torres
• Rudolfo Anaya                                    • Matt de La Pena
NATIVE AMERICAN                                    ASIAN
• Joy Harjo                                        • Amy Tan
• N. Scott Momaday
• Sherman Alexie

        17.   The restructuring of the ELA reading lists was in no way in response to H.B.

1775.

        18.   The guidelines provided to EPS teachers [Doc. No. 50-1) provide that the

College Board curricula referenced in Paragraphs 5–8 of the Affidavit of Regan Killackey is

not affected by H.B. 1775:


        College Board curriculum may still be taught. If there is something in the
        College Board curriculum that you feel may fall under one of these 8
        prohibitions, please let us know and we will seek additional guidance.

        19.   The guidelines provided to EPS teachers [Doc. No. 50-1] specifically state,

“This law does not prohibit conversations about race, ethnicity, diversity, or gender. You still

have all the tools you had before, and as always, do not interject your opinion.”

        FURTHER AFFIANT SAYETH NOT.




_________________________________                  _________________________________
DATE                                               JACQUELINE RASNIC




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     Edmond Public Schools Secondary Extended Text List
                        2021-2022
The list below is a working document, meaning it is reviewed and updated annually following the
guidelines outlined in the Oklahoma Academic Standards. All books on this list have been approved
under district and state guidelines for use at Edmond Public Schools.


Grade 6

English (2nd Semester)
   ● Freak the Mighty by Rodman Philbrick
      OR
   ● Refugee by Alan Gratz

Literacy (Whole-Class Options|One per semester)
    ● City of Ember by Jeanne DuPrau
    ● Esperanza Rising by Pam Munoz Ryan
    ● Hatchet by Gary Paulsen
    ● Out of My Mind by Sharon M. Draper
    ● Flipped by Wendelin Van Draanen
    ● Running Dream by Wendelin Van Draanen
    ● The War that Saved My Life by Kimberly Brubaker Bradley

Grade 7

English (2nd Semester)
   ● The Giver by Lois Lowry

Literacy (Whole-Class Options|One per semester)
    ● Goodbye, Vietnam by Gloria Whelan
    ● Long Walk to Water by Linda Sue Park
    ● Full Tilt by Neal Shusterman
    ● Harbor Me by Jacqueline Woodson
    ● Piecing Me Together by Renee Watson
    ● Hero by S.L. Rottman
    ● Wild Bird by Wendelin Van Draanen

Grade 8

On-Level
   ● The Outsiders by S.E. Hinton
   ● The Diary of Anne Frank (Drama)
   ● The Crossover by Kwame Alexander
   ● Verse Lit Circle (Student Choice)
         ○ Brown Girl Dreaming by Jacqueline Woodson
         ○ Alone by Megan E. Freeman
         ○ Other Words for Home by Jasmine Warga




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          ○   Long Way Down by Jason Reynolds
          ○   Under the Mesquite by Guadalupe Garcia McCall
          ○   Out of the Dust by Karen Hesse
          ○   Full Cicada Moon by Marilyn Hilton

Intro to Advanced
    ● The Outsiders by S.E. Hinton
    ● The Diary of Anne Frank (Drama)
    ● And Then There Were None by Agatha Christie
    ● Fahrenheit 451 by Ray Bradbury (Optional Text)
    ● The Crossover by Kwame Alexander
    ● Verse Lit Circle (Student Choice)
           ○ Brown Girl Dreaming by Jacqueline Woodson
           ○ Alone by Megan E. Freeman
           ○ Other Words for Home by Jasmine Warga
           ○ All the Broken Pieces by Ann E. Burg
           ○ Long Way Down by Jason Reynolds
           ○ Under the Mesquite by Guadalupe Garcia McCall
           ○ Out of the Dust by Karen Hesse
           ○ Full Cicada Moon by Marilyn Hilton


Grade 9

On-Level
   ● The Odyssey by Homer
   ● Night by Elie Wiesel
   ● Shakespeare’s Romeo & Juliet
   ● The Bonds Between Us Lit Circles (Student Choice)
         ○ A Separate Peace by John Knowles
         ○ All American Boys by Brendan Kiely & Jason Reynolds
         ○ Dreamland Burning by Jennifer Latham
         ○ Farewell to Manzanar by Jeanne Watkatzuki Houston & James D. Houston
         ○ House on Mango Street by Sandra Cisneros
         ○ Punching the Air by Ibi Zoboi & Yusef Salaam
         ○ They Both Die at the End by Adam Silvera


Intro to Advanced
    ● The Odyssey by Homer
    ● Night by Elie Wiesel
    ● Shakespeare’s Romeo & Juliet
    ● The Bonds Between Us Lit Circles (Student Choice)
           ○ A Separate Peace by John Knowles
           ○ All American Boys by Brendan Kiely & Jason Reynolds
           ○ Dreamland Burning by Jennifer Latham
           ○ Farewell to Manzanar by Jeanne Watkatzuki Houston & James D. Houston
           ○ Punching the Air by Ibi Zoboi & Yusef Salaam
           ○ They Both Die at the End by Adam Silvera




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Grade 10

On-Level
   ● The Glass Castle by Jeannette Walls
         ○ Alt Course - A Long Way Gone by Ishmael Beah
            OR I am Malala by Malala Yousafzai
   ● Animal Farm by George Orwell
   ● Shakespeare (Choose one)
         ○ Twelfth Night
         ○ Macbeth
         ○ A Midsummer Night’s Dream
         ○ Julius Caesar
   ● Ourselves and Others Lit Circles (Student Choice)
         ○ 57 Bus by Daska Slater
         ○ Hearts Unbroken by Cynthia Letitch Smith
         ○ Dear Martin by Nic Stone
         ○ A Very Large Expanse of Sea by Tahereh Mafi
         ○ The Kite Runner by Khaled Hosseini
         ○ The Sun is Also a Star by Nicola Yoon
         ○ I Am not Your Perfect Mexican Daughter by Erika Sanchez
         ○ The Astonishing Color of After by Emily X.R. Pan
         ○ Patron Saints of Nothing by Randy Ribay


Intro to Advanced
    ● The Glass Castle by Jeannette Walls
           ○ Alt Course - A Long Way Gone by Ishmael Beah
              OR I am Malala by Malala Yousafzai
    ● Animal Farm by George Orwell
    ● The Kite Runner by Khaled Hosseini
           ○ Alt Course - Life of Pi by Yann Martel
              OR Things Fall Apart by Chinua Achebe
    ● Antigone by Sophocles
    ● Shakespeare (Choose one)
           ○ Twelfth Night
           ○ Macbeth
           ○ A Midsummer Night’s Dream
           ○ Julius Caesar
    ● Ourselves and Others Lit Circles (Student Choice)
           ○ 57 Bus by Dashka Slater
           ○ The Book Thief by Markus Zusak
           ○ Hearts Unbroken by Cynthia Letitch Smith
           ○ Dear Martin by Nic Stone
           ○ A Very Large Expanse of Sea by Tahereh Mafi
           ○ The Sun is Also a Star by Nicola Yoon
           ○ I Am not Your Perfect Mexican Daughter by Erika Sanchez
           ○ The Astonishing Color of After by Emily X.R. Pan
           ○ Patron Saints of Nothing by Randy Ribay




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Grade 11

    ●   The Crucible by Arthur Miller
    ●   The Great Gatsby by F. Scott Fitzgerald
    ●   The Individual and Society Nonfiction Lit Circle (Student Choice)
           ○ The Nazi Hunters by Neal Bascomb
           ○ Born a Crime (YA Version) by Trevor Noah
           ○ Brain on Fire by Sussanah Cahalan
           ○ Into the Wild by Jon Krakauer
           ○ Unbroken by Laura Hillenbrand
           ○ Everything Sad is Untrue by Daniel Nayeri


AP Language

    ●   AP Language texts are selected according to standards set forth by College Board in
        order to support students in passing the exam. Please see teacher’s syllabus for more
        information regarding specific texts for this course.

Grade 12

    ●   Beowulf
    ●   1984 by George Orwell
    ●   Frankenstein by Mary Shelly
    ●   Lord of the Flies by William Golding
    ●   Shakespeare’s Hamlet

AP Literature

    ●   AP Literature texts are selected according to standards set forth by College Board in
        order to support students in passing the exam. Please see teacher’s syllabus for more
        information regarding specific texts for this course.


* As part of our district emphasis on developing an appreciation of literature and encouraging
lifelong reading, EPS offers students choice selections through literature circles, also referred to as
book clubs, and independent reading opportunities.

*Alternative texts are available upon request.




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